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                         EXHIBIT B
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AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Columbia
                                                                             of __________

                 Federal Trade Commission                                      )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 1:20-cv-3590-JEB
                      Meta Platforms, Inc.                                     )
                              Defendant                                        )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION

To: Saral Jain c/o David O’Neil, Debevoise & Plimpton LLP
      Snap Inc., 3000 31st Street, Santa Monica, CA 90405
                                                       (Name of person to whom this subpoena is directed)

         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: U.S. District Court for the District of Columbia                                     Courtroom No.: 22A
         333 Constitution Avenue N.W. Washington D.C. 20001
                                                                                            Date and Time: 04/14/2025 9:30 am

          You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):
                   Please see the attached document subpoena.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:       02/21/2025
                                   CLERK OF COURT
                                                                                               OR

                                                                                                                s/Mark C. Hansen
                                            Signature of Clerk or Deputy Clerk                                   Attorney’s signature



The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                  Meta Platforms, Inc.                           , who issues or requests this subpoena, are:
Mark C. Hansen, Kellogg, Hansen, Todd, Figel & Frederick, PLLC, 1615 M Street, N.W., Washington, D.C. 20036,
mhansen@kellogghansen.com, 202-326-7900

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No. 1:20-cv-3590-JEB

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                 .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                              ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                                 for services, for a total of $            0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                       Server’s signature



                                                                                                     Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:
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AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            EXHIBIT A

                                         INSTRUCTIONS

       1.      In answering each request, You are to produce all responsive Documents in Your

possession, custody, or control, regardless of whether the Document is possessed by You or

Your agents, attorneys, or representatives. The term “possession” includes, but is not limited to,

legal (de jure), actual (de facto), constructive, and practical possession.

       2.      The words “and” and “or” shall be construed both conjunctively and

disjunctively, and each shall include the other wherever such dual construction will serve to

bring within the scope of these requests any Document that would otherwise not be brought

within their scope.

       3.      The singular forms shall include the plural and vice versa wherever such dual

construction will serve to bring within the scope of these requests any Document that would

otherwise not be brought within their scope.

       4.      The use of a verb in any tense, mood, or voice shall be construed as the use of the

verb in all tenses, moods, or voices, as necessary to bring within the scope of a topic all information

that might otherwise be construed to be outside of its scope.

       5.      If Documents are withheld under any claim of privilege, including, but not limited

to, attorney-client privilege and/or work product doctrine, provide a privilege log that complies

with Federal Rule of Civil Procedure 26(b)(5), identify each such document, and state the

specific basis for the claim of privilege for each document withheld, and provide the following

information: (1) the date appearing on the document; (2) a description of the general nature of

the document (e.g., whether it is a letter, memorandum, e-mail, etc.); (3) the author of the

document; and (4) the identity of each person to whom the document was addressed and the

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identity of each person to whom a copy was sent.

        6.       If any request cannot be responded to completely, respond to it to the extent

possible, specify the portion(s) that cannot be responded to, and explain why any such portion(s)

cannot be responded to.

        7.       Produce all Documents in electronic format in accordance with the ESI Protocol

attached hereto as Exhibit 1.

        8.       Attached for reference is the Stipulation and Order Regarding Discovery

Procedure attached hereto as Exhibit 2.

        9.       Attached for reference is the Supplemental Declaration of Eric Meiring in

Accordance with Section E(1) of the Protective Order attached hereto as Exhibit 3.

        10.      Please contact Meta counsel Ana N. Paul at 202-326-7993 or

apaul@kellogghansen.com to discuss how You intend to produce the Documents.

                                           DEFINITIONS

        1.       “Action” means the above-captioned action pending in this Court, including any

related discovery, pretrial, trial, post-trial, or appellate proceedings.

        2.       “Snap,” “You,” and “Yours” means Snap Inc., a Delaware corporation, its wholly

or partially owned subsidiaries, parent companies, unincorporated divisions, joint ventures,

partnerships, operations under assumed names, predecessors, affiliates, investment vehicles, and

all directors, officers, partners, employees, agents, attorneys, consultants, and any other person or

entity, working for or on behalf of any of the foregoing at any time during the period covered by

this Subpoena.

        3.       “Document” or “Documents” means all documents or electronically stored



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information as defined in Federal Rule of Civil Procedure 34(a).

       4.      “Facebook,” unless the context requires otherwise, means the website

Facebook.com and the mobile application “Facebook.”

       5.      “Instagram” means the website Instagram.com and the mobile application

“Instagram.”

       6.      “Product” means any product, service, application, software, or technology offered

by Meta or any other company, including, but not limited to, any product service, application,

software, or technology that is no longer offered to users today.

       7.      “Snapchat” means the website Snapchat.com and the mobile application

“Snapchat.”

       8.      “TikTok” means the website TikTok.com and the mobile application “TikTok.”

       9.      “TikTok Outage” refers to the period of time on January 18, 2025 to January 19,

2025 that users in the United States were unable to use or access TikTok.

       10.     “YouTube” means the website “YouTube.com” and the mobile application

“YouTube.”




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                     DOCUMENTS REQUIRED TO BE PRODUCED

REQUEST FOR PRODUCTION NO. 1: Documents sufficient to identify the number of

unique users, number of videos posted, number of messages sent, and the time spent using

Snapchat on an hourly and daily basis from January 10, 2025 through February 2, 2025 in the

United States.

REQUEST FOR PRODUCTION NO. 2: Documents created on or after December 1, 2024

discussing or analyzing the anticipated and actual impact of the TikTok Outage on user

engagement or usage of YouTube, Facebook, Instagram, Snapchat, or other competing Products,

including the “engagement lift” on Snapchat that was referenced in Snap’s Q4 2024 Quarterly

Earnings Call.




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                            UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

 FEDERAL TRADE COMMISSION,                           Civil Action No. 1:20-cv-03590 (JEB)
                               Plaintiff,

         v.

 META PLATFORMS, INC.,

                               Defendant.




  SUPPLEMENTAL DECLARATION OF ERIC MEIRING IN ACCORDANCE WITH

                        SECTION E(1) OF THE PROTECTIVE ORDER


       1.      My name is Eric Michael Meiring. I am over 21 years of age, and I am competent

to make this declaration. The statements herein are true and are within my personal knowledge

unless stated otherwise.

       2.      I make this declaration pursuant to Section E(1) of the Protective Order in the

above-captioned matter.

       3.      I reside in Oak Hill, Virginia.

       4.      I am an attorney in good standing and licensed to practice law in Ohio and the
District of Columbia.

       5.      I am Associate General Counsel of Litigation at Meta Platforms, Inc. (“Meta”). I

joined Meta in January 2021, in my current role.

       6.      Before working at Meta, I was a Partner at the law firm Winston & Strawn LLP in

the Antitrust, White Collar, and Litigation groups from 2018-2021. Before that, I worked in the

Antitrust Division of the Department of Justice from 2008-2018, where I served as Trial

Attorney, Assistant Chief, and Acting Chief.
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       7.       In my current role as Associate General Counsel of Litigation at Meta, my

primary job duties and responsibilities are managing litigation, regulatory investigations, and

potential legal disputes and advising the company on litigation and regulatory risk. My primary

day-to-day responsibilities involve managing or advising on the litigation listed below, including

overseeing and managing the internal and external litigation teams working on those matters;

managing non-public regulatory investigations, including overseeing and managing the internal

and external teams working on those matters; responding to certain non-party litigation

subpoenas; preparing witnesses for testimony; and advising on legal risk related to the litigation

and regulatory investigation matters that I work on.

       8.       I anticipate that these will remain my primary job duties and responsibilities for

the reasonably foreseeable future.

       9.       In my current role, I do not participate in or advise on competitive decision

making at Meta, and I do not anticipate doing so in the reasonably foreseeable future. I will not

do so for the two-year period specified in paragraph D(1)(d) of the Protective Order. I do not

participate in or advise on any decisions about formulating or implementing strategies to

compete with our competitors or potential competitors. I do not participate in or advise on

business decisions on competition-related issues that are the subjects of Confidential or Highly

Confidential Information in this case, including decisions regarding contracts, marketing,

pricing, product or service development or design, product or service offerings, research and

development, mergers and acquisitions, or licensing, acquisition, or enforcement of intellectual

property rights.

       10.      I currently participate in or advise on the following litigation on behalf of Meta:

       •     FTC v. Meta Platforms, Inc., No. 1:20-cv-03590-JEB (D.D.C.) (filed Dec. 9, 2020).

       •     State of New York v. Facebook, Inc., No. 1:20-cv-03589-JEB (D.D.C.) (filed Dec. 9,

             2020), appeal pending sub nom. State of New York v. Meta Platforms, Inc., No. 21-

             7078 (D.C. Cir.).
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